                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


In the Matter of R.K., by and through her mother and next
friend, J.K;

and W.S., by and through her mother and
next friend, M.S.,

on behalf of those similarly situated,

       Plaintiffs,

v.                                                          Case No. 3:21-cv-00725

GOVERNOR BILL LEE, in his official
capacity as GOVERNOR OF TENNESSEE,
WILLIAMSON COUNTY BOARD OF EDUCATION,
and FRANKLIN SPECIAL SCHOOL DISTRICT,

      Defendants.
______________________________________________________________________________

                          PLAINTIFFS’ MOTION FOR
     TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
______________________________________________________________________________


       Plaintiffs hereby move this Court, pursuant to Fed. R. Civ. P. 65 for a Temporary

Restraining Order and Preliminary Injunction enjoining Defendants Gov. Bill Lee from enforcing

Executive Order No. 84 allowing parents to opt-out of a universal mask mandate policy and

ordering Defendants Williamson County Board of Education and Franklin Special School District

to implement a universal mask mandate with parental opt-out as a reasonable accommodation

under the ADA and Section 504 of the Rehabilitation Act.




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       The grounds for this motion are set forth in the Brief in Support of Plaintiffs’ Motion for

Temporary Restraining Order and Preliminary Injunction, filed herewith, and the accompanying

Declarations in support.

                                                    Respectfully Submitted,

                                                    DONATI LAW, PLLC

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                               CERTIFICATE OF SERVICE


        A copy of the foregoing was served on Counsel for Defendants along with a copy of the
Complaint and Summons as well as by email to provide proper notice pursuant to Rule 65 on this
the 17th day of September, 2021.


                                                  /s/Bryce W. Ashby




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